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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


  RALPH BIRCH,                                            No. 3:20-CV-1790 (VAB)
                                                          [rel. No. 3:20-CV-1792]
                            Plaintiff,
  -against-

  TOWN OF NEW MILFORD et al.,
                                                          October 22, 2024
                            Defendants.


         JOINT MOTION FOR A TELEPHONIC STATUS CONFERENCE

       On behalf of all parties, the Plaintiffs move for a telephonic status conference at the

Court’s earliest convenience. In support of this motion, the Plaintiffs state the following:

       1.      Through the persistent efforts of Magistrate Judge Richardson, Shawn Henning

and the Town Defendants have reached an agreement in principle to settle this matter.

       2.      According to required Town of New Milford procedures, the settlement has to be

approved through a process involving the Town Council, the Board of Finance and a special

meeting of town citizens, during which the citizens will vote to approve or reject the settlement.

It is expected that the settlement process will extend into December of this year.

       3.      The parties wish to discuss with the Court the current trial schedule in light of this

development.

       4.      At this time, Plaintiff Birch and the Town Defendants have not agreed to and do

not foresee a settlement.




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                                  Respectfully submitted,
                                  THE PLAINTIFFS

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